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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MELISSA ROSA,                                  )
                                               )
             Plaintiff,                        )      No. 18-C-8477
                                               )
             v.                                )      Hon. Lindsay C. Jenkins
                                               )
THE BOARD OF TRUSTEES OF THE                   )
UNIVERSITY OF ILLINOIS,                        )
                                               )
             Defendant.                        )

                  PARTIES’ JOINT STATUS REPORT
      AND REQUEST FOR ONE MONTH FACT DISCOVERY EXTENSION

      Pursuant to the Court’s August 24, 2023 and October 19, 2023 Orders, R.

101, 107, plaintiff Melissa Rosa and defendant Board of Trustees of the University

of Illinois respectfully submit the following status report.

      Since the Court’s October 19, 2023 Order extending discovery to March 1,

2024, the parties have continued to work diligently in discovery. Most significantly,

the depositions of UIC Police Chief Kevin Booker, treating psychologist William

Billows, PhD, and witnesses Eliana Triche Lebron and Linda King Rosa have been

taken, and the depositions of current UIC Police Deputy Chief Jason Huertas,

former UIC Police Sergeant Aaron Muruaskas and former UIC Police Lieutenant

Christopher Ziegler are set to take place in the next few weeks. The parties expect

other depositions to take place in February and in March. The parties also expect

to meet and confer shortly to resolve document production and deposition issues.

      In order to allow for the completion of fact discovery, the parties respectfully

request that the Court extend the fact discovery deadline by just one month to April
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1, 2024 to allow the parties to complete fact discovery. There is good cause, the

parties respectfully submit, for such an extension given that the parties have

worked diligently on discovery and there still are a number of depositions to be

taken.

         Finally, while the Court’s August 24, 2023 Order directed that the parties

propose herein “a dispositive motion briefing schedule,” August 24, 2023 Order R.

101, the parties respectfully request that the Court allow such proposal to be made

after the proposed close of fact discovery requested herein (April 1, 2024) and after

the setting of an expert discovery schedule following the close of fact discovery. See,

e.g., October 19, 2023 Order, R. 107 (striking expert discovery deadlines and

providing that such deadlines will be re-set following the close of fact discovery).



Date: February 2, 2024.                               s/Timothy P. O’Connor


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                          CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby states that he caused a copy of the

foregoing PARTIES’ JOINT STATUS REPORT AND REQUEST FOR ONE

MONTH FACT DISCOVERY EXTENSION to be served upon:

                                Timothy J. Coffey
                              The Coffey Law Office
                             118 N. Clinton, Suite 125
                                 Chicago IL 60661

                               Heidi Karr Sleper
                             Kurtz, Sleper & Exline
                        610 West Roosevelt Road, Suite A2
                               Wheaton IL 60187

by email on this 2nd day of February, 2024.



                                                         /s Timothy P. O’Connor




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